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                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                   Plaintiff,                )       CRIMINAL ACTION
                                             )
v.                                           )       No. 11-10256-02, 09, 10,
                                             )                    13
                                             )
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                                             )
                                             )
                                             )
TOM AVANT                                    )
DEOCA SALDANA MONTES,                        )
JUAN ARELLANO PADILLA,                       )
and JUAN VIDANA,                             )
                                             )
                   Defendants.               )
                                             )
                              MEMORANDUM AND ORDER
         This case comes before the court on the following motions:
         1) Defendant Tom Avant’s motion to sever (Doc. 156) and motion
for James hearing (Doc. 157);
         2) Defendant Deoca Saldana Montes motion to sever (Doc. 158) and
motion for joinder (Doc. 159);
         3) Defendant Juan Padilla’s motion for joinder (Doc. 160); and
         4) Defendant Juan Vidana’s motion to exclude Bruton evidence
(Doc. 147), motion for severance (Doc. 148), motion in limine (Doc.
161), motion for bill of particulars (Doc. 162) and motion for joinder
(Doc. 164).
         The United States has responded to all motions.                  (Docs. 165,
166, 167, 168, 169, 170, 171, 172, 173, 174, 175, 176, 177).
I.       Facts
         On November 8, 2011, the grand jury returned an indictment
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against defendants and nine additional co-defendants.1                    (Doc. 1).      On
January 10, 2012, the grand jury returned a superceding indictment
against defendants.            The superceding indictment contains twenty-one
counts, including six charges of conspiracy and eleven charges of
possession with the intent to distribute.                  Due to the complexity of
the   charges      and   the    significant     amount     of    discovery,       including
numerous recorded calls in Spanish, the court granted the government’s
uncontested motion to designate this case complex on April 17, 2012.
(Doc. 123).
          The court set pretrial motion deadlines in this case.                    However,
a trial date has not been set.
II.       Analysis
          A.   Motions to Sever (Docs. 148, 156, 158)
          Avant,   Montes      and   Vidana   all   move    to    sever   their      cases.
Multiple defendants may be tried together “if they are alleged to have
participated in the same act or transaction, or in the same series of
acts or transactions, constituting an offense or offenses.” Fed. R.
Crim. P. 8(b). If, however, a joint trial “appears to prejudice a
defendant, . . . the court may order separate trials of counts [or]
sever the defendants' trials.” Fed. R. Crim. P. 14(a). Joint trials
of defendants who are charged together are preferred because “they
promote efficiency and serve the interests of justice by avoiding the
scandal and inequity of inconsistent verdicts.”                      United States v.
Hall, 473 F.3d 1295, 1301 (10th Cir. 2007) (quotation omitted).
Severance is discretionary and should be granted only when “there is

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      The nine co-defendants have not joined in any pretrial motions.
Two co-defendants have entered guilty pleas.

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a serious risk that a joint trial would compromise a specific trial
right of one of the defendants, or prevent the jury from making a
reliable judgment about guilt or innocence.”           Id. at 1302 (quotation
omitted).
        The court agrees with the government’s responses and adopts its
discussion.     Defendants have failed to establish how a joint trial
would result in “actual prejudice to [their] defense” as required to
succeed on a motion to sever especially in light of the charges, which
include several conspiracy counts.        United States v. Hutchinson, 573
F.3d 1011, 1025 (10th Cir. 2009).           Defendants’ concern of undue
prejudice and confusion of the issues because of other transactions
and charges concerning co-defendants will be alleviated by the court’s
instructions which require the jury to consider each defendant and
count   independently.      “[L]imiting     instructions         are   ordinarily
sufficient to cure potential prejudice.”         Id.
        Avant’s, Montes’ and Vidana’s motions to sever are therefore
denied. (Docs. 148, 156, 158).
        B.   Motion for a James Hearing (Doc. 157)
        Avant moves for a James hearing to identify out of court co-
conspirator statements which will be offered against him in trial.
The government responds that a hearing is necessary but should not be
scheduled until a trial date is determined due to current plea
negotiations with co-defendants which will affect the extent of the
evidence and testimony during a James hearing.              The court agrees.   A
hearing date will be set one week prior to trial to determine the
admissibility of co-conspirator statements.
        C.   Motion to exclude Bruton evidence (Doc. 147)

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        Vidana   moves   for     an    order    excluding    the   government       from
introducing any evidence of out-of-court statements made by a co-
defendant which inculpate Vidana.               Vidana, however, has failed to
identify what statements, if any, he seeks to exclude. Therefore, the
government cannot adequately respond to Vidana’s motion.                   (Doc. 165).
Vidana’s motion is denied, without prejudice.                (Doc. 147).
        D.   Motion in Limine (Doc. 161)
        Vidana moves to exclude all evidence of his prior guilty plea
to possession of marijuana.           The government responds that it believes
Vidana will contend during trial that he did not know he was involved
with drug trafficking.          If Vidana takes this position during trial,
the   government   may     be     successful     in   admitting     this       evidence.
Therefore, the court will take this matter under advisement at this
time.
        E. Motion for Bill of Particulars (Doc. 162)
        Vidana argues that the indictment is not sufficient to put him
on notice of the nature and manner of the commission of the alleged
drug conspiracy and conspiracy to commit money laundering charge.
Vidana seeks disclosure of his statements, and those made by his co-
conspirators, and/or events which establish that the conspiracies
existed and the dates that the statements were made or the dates that
the events occurred.       (Doc. 162 at 1-2).
        “The purpose of a bill of particulars is to inform the defendant
of the charge against him with sufficient precision to allow him to
prepare his defense . . . .”          United States v. Kunzman, 54 F.3d 1522,
1526 (10th Cir. 1995)(quoting United States v. Levine, 983 F.2d 165,
166-67 (10th Cir. 1992)).          “A bill of particulars, however, is not a

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discovery    device    but   may   serve   to    amplif[y]        the   indictment      by
providing additional information.”            United States v. Dunn, 841 F.2d
1026, 1029 (10th Cir. 1988)(internal citations omitted).                         The Tenth
Circuit has held that an indictment is sufficient if it apprises
defendants of their crimes and defendants have been provided full
discovery. Kunzman, 54 F.3d at 1526. Vidana’s request must show that
the failure to provide the information would result in prejudicial
surprise.    United States v. Anderson, 31 F. Supp.2d 933, 938 (D. Kan.
1998)(citing United States v. Wright, 826 F.2d 938, 943 (10th Cir.
1987)).
         The government responds that it does not have the ability to
pinpoint    dates     when   defendants      joined    the       conspiracies.         The
government also asserts that it has disclosed all discovery in this
case, including all wiretap conversations.             Therefore, Vidana has not
established that the government has failed to disclose information
that would be prejudicial.           Vidana is not entitled to know the
entirety of the government’s case and how the case will be presented
during trial.
         Vidana’s motion for a bill of particulars is denied.                        (Doc.
162).
         F. Motions for Joinder (Docs. 159, 160, 164)
         Defendants’ motions to join in their co-defendants’ filings are
granted.
III. Conclusion
        Defendants’ motions to sever are denied. (Docs. 148, 156, 158).
Avant’s motion for a James hearing is granted.                    However, a hearing
will be scheduled one week prior to trial. Vidana’s motion to exclude

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Bruton evidence (Doc. 147) and motion for bill of particulars (Doc.
162) are denied.   Vidana’s motion in limine (Doc. 161) is taken under
advisement. Defendants’ motions to join in their co-defendants’
filings are granted.       (Docs. 159, 160, 164).
     Additionally, Avant’s motion to suppress (Doc. 154) will be heard
on August 28 at 1:30 p.m.
     A status conference will be held in this case on September 10 at
1:30 p.m.   Defendants do not need to be present.             A trial date will
be set at that time.


     IT IS SO ORDERED.
     Dated this    3rd       day of August 2012, at Wichita, Kansas.


                                           s/ Monti Belot
                                           Monti L. Belot
                                           UNITED STATES DISTRICT JUDGE




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